Exhibit D
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                                                      ~~~~.~~ :lf.<?R;~~f~Pr~~·Pr
                                                           .~US'EQIYU~f;P·.FQ~G;E· PRQDUCT

                             This. Agreemel'lt for Manufacture of .Customized ·Forage Produ~ (''Agreement'')
                      ls:mac{e .a11d·ehter:ecfir:rto by and beiween Gr~ Meadows Forage •.LLC• .ef ~4.019
                      450th Ave.,. G.ayville1 .so· 51031 ·(hereinafter re:f$rre.c! tp ·as "Green Me,~dQWS~') .and.
                      Davis Lives~9cfs. lq~. 1 of 506 .South 850 East, Srnitf1field, UT 843~5 .(b~~in.~fter·
                      retetred -to. as.·uoaviS.Livestock").
                                                                     ,                .
                                   1~
                               Ptttchase of Produ.ct Pavis Livestock agrees to· purchase approximately
                      6~191)SOf$.reen:M~adows Cu~omized Chopped s·a99ed:Forage prQduct. The .ex~ot
                      tonnag~ wUI .be <;tete1JTiined by the capacity of the· deli\lery truck-.

                               2. Shippin9·nestination. The product.wlll·be.·dellvered··to P~r:m:~e.r.minals 1
                      Sa~me. A~~ :in .·Jtd{jyswne, .PeJJasy.tvariia .. Unles~t~it.alternatiVe date .js..rnuutali~(ag~E!d
                      tg PY. fJi??.~ama~. :ftle..produGt wiJr.be df.!Hv~ied .9n oi;..befor~ Januai:y 1:1,.20.14_     ·

                             3. Purchase, Price 9nd Pfil'.(hent. The·~greed upon pur.chc;ise .price·~tiall be .
                      $44~0.00.pet ton .of:delb/e.red·'product. Davis LiVestock 'agr~es to. make .a ..paymenf:of
                    -$2-9Q40~PO ihcit mµst be wire transferred.in full to .Green Meadows Fora.ges bank
                     account ·on or betor~ 12.00 PM Monday of 1/9/.17~ An invoice statement oHh~ tofal
                      d~livered tons of product shall be emailed to lianimalhealth@gm~~l.com.

                             4. Governing Law. This Agreement shall be governed by, interpr~ted,
                      .censtru~d. ;;ir:id ,~nforced in accordance with the law~ ·Of tf]e State of South Dakota
                          with.out.regard to the ·prindpl13s Of conflicts of law thereof. ·



                      .GREEN MPAD©WS·FORAGE, LLC                              DAVIS LIVESTOCK, INC.

                          Dt,l~Q t~is ~d~y ofS~~\l.o..q-. 2017.           Date?   this·~ .:jay4vc.'i         j   ?·011.
                          ay:      ~d. D~                                     By:~~ ·                                ' .




                          Its: .    .Q'-.V. '"~   r                           its: .   fpr~'~
